Case 4:21-cv-03079 Document 22 Filed on 12/20/21 in TXSD Page 1 of 4

12/20/21, 9:19 AM 3- Explanation and Request - Google Docs
United States Courts
Southern District of Texas
FILED
DEC 20 2021
United States District Court «cout
Nathan Ochsner, Clerk of Go
For The
Southern District Of Texas
Wayne Smith
~ Plaintiff
V. Civil Action No.
David Hittner 421-cv-03079 /NOS 440
and MTGLQ Investors, LP
Defendant(s)

Plaintiff’s Main Response, Defence And Motion
To Defendant

Judge David Hittner’s Motion

1- Lawsuits Can Be Brought Against a “Judge’s individual" capacity.

As the courts know when lawsuits are brought against federal officials, they
must be brought against them in their "individual" capacity, not their official
capacity. The theory appears to be that when federal officials perpetrate
constitutional torts, they do so ultra vires and lose the shield of sovereign
immunity. Williamson v. U.S. Department of Agriculture, 815 F.2d. 369, ACLU
Foundation v. Barr, 952 F.2d. 457, 293 U.S. App. DC 101, (CA DC 1991).

2- Judge Hitmer’s Motion Concerning Entire Case.
Case 4:21-cv-03079 Document 22 Filed on 12/20/21 in TXSD Page 2 of 4 2 .
12/20/21, 9:19 AM 3- Explanation and Request - Google Docs

The Plaintiff filed a Default judgment against David Hitter in his “individual
capacity” and MTGLQ Investors LP however being one personage David
Hitter as individual forwarded the Complaint to Judge Hittner’s Attorney(s)
and in this process fulfilled, the” Certificate of Service”, to both, David Hitter
as Individual and as Judge being served.

Whereas Plaintiff desires to note that also MTGLQ, LP were served and
whereas by Default, MTGLQ, Investors, LP owe the Defendant in what he
prayed in his Complaint. Plaintiff understands as denoted below that

the “Individual and Judge, known as David Hitter” according to the following
is only accountable to the Court which the Plaintiff recognized in his original
desired Default Order and slightly updated desired order which recognizes the
Cort has the final verdict on all parts of Civil Rights Matters.

3- Plaintiff’s “ Bivens Action” and Case Settlement Motion.

The Civil Rights Violations case the Plaintiff has filed could have been
reckoned under Federal Rule Civil Procedure 12 (b) (e ) and furthermore, it
shows itself in agreement with VIII-5 since the Plaintiff asks for such other relief
as the Court deems just and proper, as the Settlement for this Entire Case whereas
this case is in the spirit of, “A Bivens Action Case”, since the enabling
legislation is found under Title 28 U.S. Code § 1331. The court knows under

fitle 28 U.S. Code § 1331 it grants authority to federal district courts with
Case 4:21-cv-03079 Document 22 Filed on 12/20/21 in TXSD Page 3 of 4
12/20/21, 9:19 AM 3- Explanation and Request - Google Docs 2,

original subject matter jurisdiction over "all civil actions arising under the
Constitution, laws, or treaties of the United States." This stipulation of law gives
courts total power to control a settlement concerning Civil Rights Violations
settlements whether anyone accepts their decisions or not however in
recognition of the words of Justice Louis Brandeis, the Plaintiff humbly and
respectfully requests that the court adheres to her words as follows:

"Decency, security and liberty alike demand that government officials shall be
subjected to the rules of conduct that are commands to the citizen. In a
government of laws, existence of the government will be imperiled if it fails to
observe the law scrupulously. Our government is the potent, omnipresent
teacher. For good or for ill, it teaches the whole people by its example. Crime is
contagious. If the government becomes a lawbreaker, it breeds contempt for the
law, it invites every man to come a law unto himself. It invites anarchy. (United
States v. Olmstead, 277 U.S. 438 (1928).

Plaintiff has presented his case and Motion For The Order because of the
default actions of the defendant, MTGLQ Investors, LP, and toward (Judge/Individual)

David Hittner on the basics of questions raised under both Federal and Constitution Law.
Case 4:21-cv-03079 Document 22 Filed on 12/20/21 in TXSD Page 4 of 4
12/20/21, 9:19 AM 3- Explanation and Request - Google Docs Ve

In the defense of his case, Plaintiff respectfully asks and motions for the court to
rule in favor of Plaintiff’s Offer of Settlement and Order presented to the court
this day.

Respectfully Submitted,
Plaintiff, Wayne Smith

Respectfully Submitted By:

Wayne Smith, ProSe

5723 Painted Trail Drive

Houston, Texas 77084

Counsel for Plaintiff- Wayne Smith
